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                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF OHIO
                             WESTERN DIVISION AT DAYTON


United States of America,

                                 Plaintiff,

v.                                                                          Case No. 3:06-cr-174
                                                                            Judge Thomas M. Rose

Thurman Mayton,

                                 Defendant.



         ENTRY AND ORDER DENYING MOTION TO RECONSIDER DISMISSAL
         ORDER. DOC. 270.


         Pending before the Court is United States’ Motion for Reconsideration of Dismissal Order.

Doc. 270. While this motion does not state what Federal Rule of Criminal Procedure it is based

upon, the Government states four reasons why the Court should vacate its order dismissing

Defendant Thurman Mayton: 1. The Court failed to perceive that “it was established that the

defendant’s participation...occurred some 90 days beyond [November 22, 2000]. (Tr. 28)”; 2.

Defendant failed to communicate his withdraw to a sufficient number of co-conspirators; 3.

Defendant’s failure to notify authorities of the conspiracy allowed “its members to continue to traffic

marijuana until the execution of search warrants in January 2005,”; and 4. a decision to grant a

dismissal based upon withdrawal should be reserved for a jury, “particularly in a case such as this

where the facts are disputed.”

         As for the Government’s first point, the Court has read the transcript and particularly page

28 of the transcript, failing to find evidence of any sort that substantiates the claim that Defendant
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participated in the conspiracy substantially beyond November 22, 2000. Defendant remembers

going to receive payment the night he withdrew from the conspiracy. Doc. 215 at 52-53, 56.

       Neither is there an inconsistency in Officer May’s statement that Defendant would have had

to receive payment from Fletcher at a later time. Doc. 215 at 40-41. Defendant himself described

how he had to go to Fletcher’s house for the payment later on the day he withdrew. Id. at 52-53, 56.

Officer May doesn’t “know the exact time” when Defendant received payment. Id.1

       As to the second contention, the Court has previously found that Defendant communicated

his withdraw to a sufficient number of co-conspirators. Defendant told the co-conspirator who

recruited him, Mr. Fletcher. Defendant “didn’t know any of these other guys. [He] couldn’t talk to

anybody else.” Doc. 215 at 53. The Supreme Court has not held that a defendant must inform more

members of a conspiracy of withdrawal than is “manageable.” United States v. U.S. Gypsum Co.,

438 U.S. 422, 464 n.37 (1978). This is especially true in situations where “all ‘other’ members

might not be readily identifiable.” Id.; see also United States v. Gonzalez, 797 F.2d 915, 917 (10th

Cir. 1986) and United States v. Kinkle, 631 F. Supp. 423, 427 (E.D. Pa. 1986).


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             The only other testimony that can arguably be read contrary to a November 22, 2000
    termination of participation is that of Special Agent Bruce May, Doc. 215 at 4, who says that, after
    the distribution in which Defendant participated, which occurred prior to November 22, 2001, he was
    allowed to sweep the floor for the “leavings,” which amounted to a pound to a pound and a half , and
    which, the officer hypothesizes, might have taken Defendant “a month or two” to distribute on his
    own. Doc. 215 at 38. Assuming the Officer’s conjecture that Defendant distributed this on his own
    for as long as two months after this is true, this does not negate Defendant’s withdrawal from the
    interstate distribution conspiracy. Moreover, assuming he did sell this amount himself, he would have
    completed this in February 2001, at the latest. Officer May affirmed the Court’s understanding that,
    in any event, Defendant’s involvement was complete within 90 days from a mid-November 2000
    delivery date. Id. at 42-43. “No later tha[n] February 2001.” Id. at 42. The first document to mention
    the Defendant in this case is the Second Superceding Indictment, which was filed February 16, 2007,
    Doc. 97, well beyond when the five-year statute would have run for activities undertaken in February
    2001. (The Court’s original decision in this matter incorrectly described Mayton as a defendant in
    the original indictment.)

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        The Court also rejects the contention that the fact that Defendant “agreed to keep quiet” and

“continued to honor this agreement even up to April 29, 2005” constitutes an act of concealment

furthering the conspiracy. The Government is correct in pointing out that the Supreme Court has

instructed lower courts to distinguish acts that further the “Main criminal objectives of a conspiracy

[from] acts of concealment done after these central objectives have been attained, for the purpose

only of covering up after the crime.” Grunewald v. United States, 353 U.S. 391, 405 (1957). In the

instant case, however, there is no traditional criminal act of concealment. Defendant merely

remained silent. Grunewald posed as an example the difference between the act of concealment in

repainting a stolen car to further a conspiracy to steal and the act of repainting a stolen car after a

conspiracy such as a kidnaping was already complete, merely to cover one’s tracks. Id. In the

instant case, there is no “act” of concealment.

        There are two ways to withdraw from a conspiracy: an affirmative act that is inconsistent

with the goals of the conspiracy, such as making a full confession to the authorities, or

communicating to co-conspirators that one has abandoned the enterprise. Hyde v. United States, 225

U.S. 347, 369 (1912). To require a co-conspirator to confess the crime to authorities after informing

his co-conspirators of his decision to withdraw would obviate one of the means recognized by the

Supreme Court for withdrawal. Once a defendant communicates his withdrawal to co-conspirators,

he is free to remain silent.

        Finally, as regards the need to put contested issues before a jury, as noted above, there is no

evidence that creates a dispute of fact in this case as regards Defendant’s withdrawal. Moreover,

in the case the Government cites as authority for putting this matter before a jury, “neither




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[defendant] raised a defense based on withdrawal.” United States v. Brown, 332 F.3d 363, 372-74

(6th Cir. 2003).

       Because Defendant withdrew more than five years prior to being indicted, his motion to

dismiss, Doc. 218, is GRANTED and the charges against him are DISMISSED.

       DONE and ORDERED in Dayton, Ohio this Tuesday, March 18, 2008.



                                                                      s/Thomas M. Rose
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                                                                       THOMAS M. ROSE
                                                              UNITED STATES DISTRICT JUDGE




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